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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

ALEJANDRO RODRIQUEZ                                                                  PLAINTIFF

V.                               NO. 4:21-cv-00777-LPR-ERE

TISH JHONSON, et al.                                                             DEFENDANTS


                                          JUDGMENT

       Consistent with the Order that was entered on this date, it is CONSIDERED, ORDERED,

and ADJUDGED that Mr. Rodriquez’s claims are DISMISSED. This case is closed. Pursuant to

28 U.S.C. § 1915(a)(3), the Court certifies that an in forma pauperis appeal of the Judgment or the

Order accompanying the Judgment would not be taken in good faith.

       IT IS SO ADJUDGED this 7th day of December 2021.



                                                     ________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
